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                                                                        COURT
                                                                         r n(
                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                      BRUNSWICK DIVISION               '""l "C 19        10: 39

                                                      CLERK
                                                      ^0. ufoT. OF GA.
                                                                                (
JOE T, YOUNG,
     Plaintiff,                    CASE NO: CV:2:18-22

V.




DAVID BRADY,
     Defendant




            EXTRACTS IN SUPPORT OF REQUEST FOR SUMMARY JUDGEMENT
            OR DEFAULT JUDGEMENT AGAINST THE DEFENDANT



     F. R. CIV. P. 26 A(1) Aparty must, without awaiting a dis

covery request.provide to the other party, (i) the name, address

and telephone number of each individual likely to have discover

able information-along with the subjects of that information-

that the disclosing party may use to support its claims or def

ences. (heading or topic is enough. Duty to supplement: RULE 26

(e) requires a party to supplement its RULE 26 (a)(1) disclosures

if it learns they are not complete or incorrect, U. S. V. Stabl,
inc, 800 f3d,476,487 (8th Cir. 2015). Parties must identify the ,

subjects of such information, list of topics or headings is

enough.



     Our court rules and patterns must be followed and the acc^

used can't be irregular and make his own rules. The only remedy
that is available is to issue default or summary judgement
against the Defendant.


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     FED. R. OF CIV. PROCEDURE 37. Failure to make disclosure

or to cooperate in discovery states, 37(2) (a) for not obeying

a discovery order sanctions are in order. The court may (v)

dismiss the defendants pleadings (Vl) render a default judge

ment against the disobedient defendaht. Plaintiff requests

for disobeying court orders Rule 37 default sanction or Rule

55 default. The discovery window closed August 3rd with no

reference to illegal palmetto berry harvesting. The bottom

line is the evidence and inferences proves the accused brady

has committed perjury and bore false witness in a court affi

davit.




     The 2000 Amendment to the advisory Commitee. Note to Rule

26(a)(1) - Party may not use information not disclosed initially'

or by supplement. Exclusionary sanction



     By means of his attorney, the accused Mr. brady had two

chances to answer before the mandatory disclosures and did not

refer to any illegal palmetto activity, by means of common

sense and court sequences and orders there is no debate but

that he is lying. AVOIDANCE OF PREJUDICIAL OR UNFAIR SURPRISE

Burns v. Thikel chemical corp, 483f.2d300(5th Cirl973) now

(11th Cir). Parties to develop and concise factual issues and

operate to prevent unfair and prejudicial surprises and con

serve judicial energies. No longer blind mans bluff.


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      Its apparant to people with perspective and experience in
 this type of situation and circumstances that the defense has
 manufactured this palmetto story. Under any circumstances they
 have no allowable excuse or defense. The guidelines say that
 there is no controversy ordebate to determine and that Summary
 or default judgement is just and fair for the - plaintiff.



                              RespedjzTuriy subgatted,-C-.
                              Joe T. Young
                              P. O. BOX 2851
                              Brunswick, Ga 31521

                      CERTIFICATE OP SERVICE


^ 4.K^ hereby certify that I have this day served the counsel
                ^ judgement orPlaintiffs,
requesting Summary                        extracts
                               default against the supporting
                                                   accused;,by
placing in the U.S. Mail and addressed as follows:
                  Brian E, Goldberg
                  State law dept.
                  40 Capital square S.W.
                  Atlanta, Ga 30334


This -y Day of        _2019
                                          O. Box 2
                                       Brunswick, Ga 31521
